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                                   UNITED STATES DISTRICT COURT
                                   EASTERN DISTRICT OF VIRGINIA
                                       ALEXANDRIA DIVISION

  MICROSOFT CORPORATION,

                      Plaintiff,
                                                              Case No. 1:24-cv-2323
         v.

  DOES 1-10 OPERATING AN AZURE ABUSE
  NETWORK,

                      Defendants.


   MOTION AND MEMORANDUM IN SUPPORT OF MOTION TO PERMIT SERVICE
         OF FIRST AMENDED COMPLAINT BY ALTERNATIVE MEANS


         Pursuant to Fed. R. Civ. P. 4(f) and (k), Local Civil Rule 7, and the Court’s Order of

  March 13, 2025, Microsoft respectfully submits the following Statement and Motion to Permit

  alternative means of service of process of the First Amended Complaint on Defendants Arian

  Yadegarnia and DOE 9, only. These Defendants do not reside in Hauge Service Convention

  Jurisdictions and Microsoft does not possess physical address information for them. The table

  below summarizes Microsoft’s proposed service methods:

          Defendant                   Place of Residence                    Means of Service

   Arian Yadegarnia                Islamic Republic of Iran    Multiple known email addresses

   DOE 3 aka “Sekrit”              Republic of Austria         Hauge Convention jurisdiction

   Alan Krysiak                    United Kingdom              Hauge Convention jurisdiction

   Phát Phùng Tấn                  Socialist Republic of       Hauge Convention jurisdiction

                                   Vietnam

   DOE 4 aka “Dazz”                United Kingdom              Hauge Convention jurisdiction

   DOE 5 aka “Jorge”               United States               Personal service




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   DOE 6 aka                  Republic of Turkey          Hauge Convention jurisdiction

   “jawajawaable”

   DOE 7 aka “1phlgm”         Russian Federation          Known email address

   DOE 8                      Argentine Republic          Hauge Convention jurisdiction

   DOE 9                      Republic of Paraguay        Known email address

   DOE 10                     Kingdom of Denmark          Hauge Convention jurisdiction



                                ALTERNATIVE SERVICE DEFENDANTS

         Microsoft only seeks alternative email service as to Arian Yadegarnia (who has already

  been served with the Court’s original summons via the original Alternative Service Order) and

  DOE 9. Under Federal Rule of Civil Procedure 4, courts may order service of process on

  individuals in a foreign country by "means not prohibited by international agreement." JFXD

  TRX Acq LLC v. Trx.Com, Civil Action No. 1:23-cv-217 (CMH/LRV), 2023 U.S. Dist. LEXIS

  238064, at *1-2 (E.D. Va. Apr. 3, 2023). “Rule 4(f) does not denote a hierarchy or preference for

  one method of service over another,” and “service under Rule 4(f)(3) is ‘neither a 'last resort' nor

  'extraordinary relief.’” Id. (citations omitted) “The only limitations on Rule 4(f)(3) are that the

  means of service must be directed by the court and must not be prohibited by international

  agreement.” Id. To “fulfill due process requirements under Rule 4(f)(3), the Court must approve

  a method of service that is ‘reasonably calculated’ to give notice to defendant.” Id. (quoting

  Mullane v. Cent. Hanover Bank & Trust Co., 339 U.S. 306, 314 (1950)); see Overstock.com, Inc.

  v. Visocky, 117CV1331LMBTCB, 2018 WL 5075511, at *4 (E.D. Va. Aug. 23, 2018), report

  and recommendation adopted, 2018 WL 5046673 (E.D. Va. Oct. 17, 2018) (service via email on

  foreign defendant is “reasonably calculated” to provide notice)).




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         Serving Defendants’ digital addresses is the best way to provide Defendants with timely

  actual notice and the process to which they are due. See, e.g., id. The email addresses to be

  served are addresses developed through investigation and discovery of the subject conduct and

  are likely to provide effective notice. Courts routinely find that serving defendants via email as

  Microsoft proposes to do here is reasonably calculated to provide notice. WhosHere, Inc. v.

  Orun, Civil Action No. 1:13-cv-00526-AJT-TRJ, 2014 U.S. Dist. LEXIS 22084, at *9 (E.D. Va.

  Feb. 20, 2014) (“Several courts have permitted service of process by email…”)(collecting cases);

  Microsoft Corp. v. Doe, Civil Action No. 1:13cv139, 2014 U.S. Dist. LEXIS 48398, at *7 (E.D.

  Va. Jan. 6, 2014); Rio Properties, Inc. v. Rio Int’l. Interlink, 284 F.3d 1007, 1014-1015 (9th Cir.

  2002) (authorizing service by e-mail upon an international defendant); Microsoft Corp. v. John

  Does 1-27, Case No. 1:10-cv-156 (E.D. Va. 2010, Brinkema J.); FMAC Loan Receivables v.

  Dagra, 228 F.R.D. 531, 535036 (E.D. Va. 2005) (acknowledging that courts have readily used

  Rule 4(f)(3) to authorize international service through non-traditional means); AllscriptsMisys,

  LLC v. Am. Digital Networks, LLC, 2010 U.S. Dist. LEXIS 4450, *3 (D. Md. 2010) (granting ex

  parte TRO and order prompting “notice of this Order and Temporary Restraining Order as can

  be effected by telephone, electronic means, mail or delivery services.”).

         Accordingly, Plaintiff respectfully requests that the Court enter an order authorizing

  service of the summons and complaint in this action by emails to Defendants’ known email

  addresses, and emails to the “abuse” contacts for the third-party ISPs whose services Defendants

  have used to conduct the Azure Abuse Enterprise.




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   Dated: March 21, 2025          Respectfully submitted,

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